[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION RE: MOTION FOR PAYMENT OF FEES FOR GUARDIAN AD LITEM
The Court has heard argument with respect to the payment of fees for both counsel for the minor children, and for payment of fees for the court-appointed guardian ad litem who is a member of the Connecticut Bar.
The paternal grandparents argue that a Family Services Officer should be appointed to defray costs. Counsel for the children argue that the Probate Court and Juvenile Court accepted this guardian because of the complexity of the issues. CT Page 12998
This Court agrees that the argument of counsel for the minor children represents their best interests. They have had consultations with Attorney Shaban, and with Attorney Benedict in her capacity as guardian ad litem. The children, whose essential security and ability are the subject of this action, are entitled to expect continuity from this court.
Furthermore, the appointment of a Family Services Officer as a guardian ad litem is not favored by this Court. The demands placed upon that office currently would be severely enhanced if judges of the Superior Court appointed them as guardians. The provisions in P.B. § 484 does not contemplate a family relations officer as a guardian ad litem for a protracted matter which is the subject of an investigation and evaluation by their office. Clearly, the Court is interested in maintaining the neutrality of that office in the conduct of its investigative evaluative, mediation, and recommendation function for the Court. The advocacy role of attorney and guardian ad litem in a case of this nature is properly secured by the appointment of a guardian from other than the ranks of the family division.
While that guardian ad litem need not always be a member of the Bar, the previous appointment of Attorney Benedict will not be disturbed by this Court.
Therefore, the fees charged shall be allowed, and payment shall be assessed equally between the maternal and paternal grandparents, unless otherwise ordered at some time in the future, depending upon the reasonableness of the conduct of the adult parties to this litigation.
Motion for fees is granted.
Dranginis, J.